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 6   Attorney for Defendant
     JOSE JUNEZ RAMIREZ, SR.
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         )       No. 13-CR-00204-MCE
                                                       )
                                                       )       AMENDED STIPULATION AND
12          Plaintiff,                                 )       ORDER CONTINUING CASE AND
13                                                     )       EXCLUDING TIME
     v.                                                )
14                                                     )
     JOSE JUNEZ-RAMIREZ, SR.                           )       Date: August 20, 2015
15                                                     )       Time: 9:00am.
                                                       )       Judge: Honorable Morrison C. England
16
            Defendant.                                 )
                                                       )
17                                                     )
                                                       )
18

19          IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Michele Beckwith, Assistant United States Attorney, attorney for plaintiff, together

21   with Kyle Knapp, attorney for defendant JOSE JUNEZ-RAMIREZ-SR., that the previously-

22   scheduled status conference, currently set for August 13, 2015, be vacated and that the matter be

23   set for status conference on August 20, 2015, at 9:00 a.m.

24          This continuance is requested to allow defense counsel additional time to resolve some

25   legal and investigative issues that are critical in finalizing the plea agreement. .

26          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a

27   continuance outweigh the best interests of the public and the defendant in a speedy trial and that

28   time within which the trial of this case must be commenced under the Speedy Trial Act should



                                                           1
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 1   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 2   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, August
 3   11, 2015, up to and including August 20, 2015.
 4   IT IS SO STIPULATED.
 5
     Dated: August 11, 2015                                     BENJAMIN B. WAGNER
 6                                                              UNITED STATES ATTORNEY

 7                                                        by:   /s/ Kyle Knapp for
                                                                MICHELE BECKWITH
 8
                                                                Assistant U.S. Attorney
 9                                                              Attorney for Plaintiff

10   Dated: August 11, 2015                                     /s/ Kyle Knapp
11
                                                                KYLE KNAPP
                                                                Attorney for Defendant
12                                                              JOSE JUNEZ-RAMIREZ, SR.
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                                                 ORDER
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            The Stipulation of the parties is hereby accepted and the requested continuance is
 2
     GRANTED. This matter shall be dropped from this court’s August 13, 2015 criminal calendar
 3
     and re-calendared for status conference on August 20, 2015. Based on the representations of
 4
     the parties the Court finds that the ends of justice served by granting this continuance outweigh
 5
     the interests of the public and the defendant in a speedy trial. Time is excluded from the time of
 6
     the filing of this stipulation on August 11, 2015 through and including August 20, 2015.
 7

 8          IT IS SO ORDERED.

 9   Dated: August 12, 2015
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